            Case 2:19-mc-00157-RSL Document 11 Filed 03/25/21 Page 1 of 2



 1                                                           The Honorable Robert S. Lasnik
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9
10   UNITED STATES OF AMERICA,                              NO. 2:19-mc-00157-RSL

11                            Plaintiff,                           (2:17-CR-0311-1)
12           vs.                                            Order Terminating
                                                            Garnishment Proceeding
13   GABRIEL CRONIN,
14            Defendant/Judgment Debtor,
15         and
16   THE VANGUARD GROUP,
17                            Garnishee.
18
19          This matter came before the Court on the United States’ Application to

20   Terminate Garnishment Proceeding. For the reasons stated in the United

21   States’ Application, the Court concludes that this Garnishment should be
22
     terminated, pursuant to 28 U.S.C. § 3205(c)(10)(C).
23
            IT IS ORDERED that the garnishment is terminated and that The
24
25   Vanguard Group is relieved of further responsibility pursuant to this

26   garnishment.

27   //
28

     ORDER TERMINATING GARNISHMENT PROCEEDING                                 UNITED STATES ATTORNEY’S OFFICE
                                                                               700 STEWART STREET, SUITE 5220
     (USA v. Gabriel Cronin and The Vanguard Group, USDC#: 2:19-MC-00157-             SEATTLE, WA 98101
     RSL/2:17-CR-0311-1) - 1                                                          PHONE: 206-553-7970
            Case 2:19-mc-00157-RSL Document 11 Filed 03/25/21 Page 2 of 2



 1          Dated this 25th day of March, 2021.
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                                     JUDGE ROBERT S. LASNIK
 4                                   UNITED STATES DISTRICT COURT JUDGE

 5
 6   Presented by:

 7   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA # 34609
 8   Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                               UNITED STATES ATTORNEY’S OFFICE
                                                                             700 STEWART STREET, SUITE 5220
     (USA v. Gabriel Cronin and The Vanguard Group, USDC#: 2:19-MC-00157-           SEATTLE, WA 98101
     RSL/2:17-CR-0311-1) - 2                                                        PHONE: 206-553-7970
